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UNITED STATES DISTRICT COURT
MIDDLE DISRICT OF FLORIDA
TAMPA DIVISION

CHRISTOPHER MARK PARIS and
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC

Plaintiffs
Vv. CASE 8:19-cv-00423-WFS-SPF

WILLIAM LEVINSON and LEVINSON
PRODUCTIVITY SYSTEM, PC, a
Pennsylvania Corporation; MARK
TIMOTHY SMITH, individually, and
d/b/a CAYMAN BUSINESS SYSTEMS;
GUBERMAN PMC, a Connecticut

LLC; Daryl Guberman, individually;
DONALD LABELLE, individually,

Defendants.
NOTICE OF COMPLIANCE WITH ORDER TO RETAIN
COUNSEL TO REPRESENT GUBERMAN PMC, LLC

PLEASE TAKE NOTICE that undersigned plaintiff Daryl Guberman, pro se has complied
with this court’s order dated June 20, 2019 (Dkt. 51) to retain counsel for Guberman PMC, LLC.

Defendant Guberman has retained attorney Bruce Alexander Minnick, Florida Bar No.
250295, on June 28, 2019. Mr. Minnick was admitted to The Florida Bar in 1978 and admitted to
the bar of this honorable court in 1981. However, it appears that the rules of admission have
changed over the last 35 years resulting in Mr. Minnick’s membership to lapse.

Accordingly, Mr. Minnick has communicated with the Clerk of this court and as instructed
is completing the court forms and related papers and paying the admission fee required to re-instate
his membership today, July 1, 2019. Since Mr. Minnick lives and practices law in Tallahassee, he
has requested and hopes to be sworn in telephonically at the next telephonic swearing-in ceremony.

 

Cc: Bruce Alexander Minnick
bammab|1@gmail.com
(850) 893 6091
 

 

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